                                                                                         CLOSED
                          United States District Court
                   Eastern District of Wisconsin (Milwaukee)
             CRIMINAL DOCKET FOR CASE #: 2:24−mj−00882−NJ−1

Case title: USA v. Fortier                               Date Filed: 06/27/2024

                                                         Date Terminated: 06/27/2024

Assigned to: Magistrate Judge
Nancy Joseph

Defendant (1)
Miguel Angel Fortier, Jr          represented by Dennise Moreno
YOB 1999                                         Federal Defender Services of Wisconsin Inc
TERMINATED: 06/27/2024                           411 E Wisconsin Ave − Ste 2310
                                                 Milwaukee, WI 53202
                                                 414−221−9900
                                                 Fax: 414−221−9901
                                                 Email: dennise_moreno@fd.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Federal Public Defender

Pending Counts                                   Disposition
18:1349− ATTEMPT AND
CONSPIRACY TO COMMIT
MAIL FRAUD
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                                Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                       Disposition
None


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Plaintiff
USA                                              represented by Karine Moreno−Taxman
                                                                United States Department of Justice
                                                                (ED−WI)
                                                                Office of the US Attorney
                                                                517 E Wisconsin Ave − Rm 530
                                                                Milwaukee, WI 53202
                                                                414−297−1785
                                                                Fax: 414−297−1738
                                                                Email: karine.moreno−taxman@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Assistant US Attorney

 Date Filed      # Page Docket Text
 06/27/2024     1     3 Rule 5 Documents Received as to Miguel Angel Fortier, Jr from the Middle
                        District of Florida − Tampa Division in case number 24−CR−276. (edr)
 06/27/2024          10 Arrest Rule 5 of Miguel Angel Fortier, Jr in case number 24−CR−276 from the
                        Middle District of Florida − Tampa Division. (edr)
 06/27/2024          12 Case unsealed as to Miguel Angel Fortier, Jr (edr)
 06/27/2024           9 NOTICE OF HEARING as to Miguel Angel Fortier, Jr. Initial Appearance −
                        Rule 5 set for 6/27/2024 at 3:00 PM in Courtroom 253, 517 E Wisconsin Ave.,
                        Milwaukee, WI 53202 before Magistrate Judge Nancy Joseph. (edr)
 06/27/2024     2    14 Minute Entry for Initial Appearance in Rule 5 Proceedings as to Miguel Angel
                        Fortier, Jr held on 6/27/2024. before Magistrate Judge Nancy Joseph. Defendant
                        advised of rights, penalties, and fines. Defendant waived right to identity hearing.
                        Defendant ordered released on conditions and ordered to appear in Middle
                        District of Florida − Tampa Division on a date and time to be set. (Court Reporter
                        Liberty) (edr)
 06/27/2024     3    15 WAIVER of Rule 5(c)(3) Hearings by Miguel Angel Fortier, Jr. (edr)
 06/27/2024     4    16 ORDER Setting Conditions of Release signed by Magistrate Judge Nancy Joseph
                        on 6/27/2024. (cc: all counsel) (edr)
 06/27/2024     5    21 ORDER signed by Magistrate Judge Nancy Joseph on 6/27/2024 Requiring
                        Defendant to Appear in Other District as to Miguel Angel Fortier, Jr. (cc: all
                        counsel) (edr)




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MIME−Version:1.0
From:ecfmaster@wied.uscourts.gov
To:ecfmaster@wied.uscourts.gov
Bcc:
−−Case Participants: Dennise Moreno (arden_york@fd.org, dennise_moreno@fd.org,
jolynn_blei@fd.org, lillian_cruz@fd.org, nat_henak@fd.org), Karine Moreno−Taxman
(caseview.ecf@usdoj.gov, karine.moreno−taxman@usdoj.gov, melly.rodriguez@usdoj.gov),
Magistrate Judge Nancy Joseph (emily_brown@wied.uscourts.gov,
laura_cronin@wied.uscourts.gov, nancy_joseph@wied.uscourts.gov,
ross_miller@wied.uscourts.gov)
−−Non Case Participants: Federal Defender Office (jolynn_blei@fd.org,
lillian_cruz@fd.org), Probation (wiep_dqa@wiep.uscourts.gov), US Marshals
(cm_marshals@wied.uscourts.gov)
−−No Notice Sent:

Message−Id:4851960@wied.uscourts.gov
Subject:Activity in Case 2:24−mj−00882−NJ USA v. Fortier Notice of Hearing − Initial
Appearance − Rule, 5, Rule 40, Rule 32.1
Content−Type: text/html

                                      United States District Court

                                     Eastern District of Wisconsin

Notice of Electronic Filing


The following transaction was entered on 6/27/2024 at 12:17 PM CDT and filed on 6/27/2024

Case Name:       USA v. Fortier
Case Number:     2:24−mj−00882−NJ
Filer:           Dft No. 1 − Miguel Angel Fortier, Jr
Document Number: No document attached
Docket Text:
 NOTICE OF HEARING as to Miguel Angel Fortier, Jr. Initial Appearance − Rule 5 set for
6/27/2024 at 3:00 PM in Courtroom 253, 517 E Wisconsin Ave., Milwaukee, WI 53202 before
Magistrate Judge Nancy Joseph. (edr)


2:24−mj−00882−NJ−1 Notice has been electronically mailed to:

Dennise Moreno &nbsp &nbsp dennise_moreno@fd.org, arden_york@fd.org, jolynn_blei@fd.org,
lillian_cruz@fd.org, nat_henak@fd.org

Karine Moreno−Taxman &nbsp &nbsp karine.moreno−taxman@usdoj.gov, CaseView.ECF@usdoj.gov,
melly.rodriguez@usdoj.gov

2:24−mj−00882−NJ−1 Notice has been delivered by other means to:




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MIME−Version:1.0
From:ecfmaster@wied.uscourts.gov
To:ecfmaster@wied.uscourts.gov
Bcc:
−−Case Participants: Karine Moreno−Taxman (caseview.ecf@usdoj.gov,
karine.moreno−taxman@usdoj.gov, melly.rodriguez@usdoj.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:4851928@wied.uscourts.gov
Subject:Activity in Case 2:24−mj−00882 *SEALED* Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

                                       United States District Court

                                       Eastern District of Wisconsin

Notice of Electronic Filing


The following transaction was entered on 6/27/2024 at 11:56 AM CDT and filed on 6/27/2024

Case Name:       USA v. SEALED
Case Number:     2:24−mj−00882 *SEALED*
Filer:
Document Number: No document attached
Docket Text:
Arrest Rule 5 of Miguel Angel Fortier, Jr in case number 24−CR−276 from the Middle District
of Florida − Tampa Division. (edr)


2:24−mj−00882 *SEALED*−1 Notice has been electronically mailed to:

2:24−mj−00882 *SEALED*−1 Notice has been delivered by other means to:


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                                     United States District Court

                                     Eastern District of Wisconsin

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Case Name:       Sealed v. Sealed
Case Number:     2:24−mj−00882 *SEALED* (Requires CM/ECF login)
Filer:           Redacted
Document Number: No document attached
Docket Text:
 Redacted due to sealed restriction. Docket text can be viewed via the unredacted NEF
receipt available here. (Requires CM/ECF login)




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MIME−Version:1.0
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To:ecfmaster@wied.uscourts.gov
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:4851930@wied.uscourts.gov
Subject:Activity in Case 2:24−mj−00882 USA v. SEALED Case Unsealed
Content−Type: text/html

                                       United States District Court

                                       Eastern District of Wisconsin

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The following transaction was entered on 6/27/2024 at 11:56 AM CDT and filed on 6/27/2024

Case Name:       USA v. SEALED
Case Number:     2:24−mj−00882 *SEALED*
Filer:
Document Number: No document attached
Docket Text:
Case unsealed as to Miguel Angel Fortier, Jr (edr)


2:24−mj−00882 *SEALED*−1 Notice has been electronically mailed to:

2:24−mj−00882 *SEALED*−1 Notice has been delivered by other means to:


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apply.

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                                       United States District Court

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                                     Eastern District of Wisconsin

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Case Number:     2:24−mj−00882 *SEALED*
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Document Number: No document attached
Docket Text:
 Redacted due to sealed restriction. Docket text can be viewed via the unredacted NEF
receipt available here. (Requires CM/ECF login)




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                                 UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WISCONSIN

          UNITED STATES OF AMERICA                                       INITIAL APPEARANCE
                                                                            on Rule 5 Hearing
                            v.
                                                                       CASE NUMBER 24-mj-00882
          MIGUEL ANGEL FORTIER, JR


 HONORABLE NANCY JOSEPH, presiding                                  Court Reporter: Liberty
 Deputy Clerk: Evan Romel                                           Hearing Began: 3:11 pm
 Hearing Held: June 27, 2024, at 3:00 pm                            Hearing Ended: 3:23 pm

 Appearances:
 UNITED STATES OF AMERICA by: Karine Moreno-Taxman
 MIGUEL ANGEL FORTIER, JR, in person, and by: Dennise Moreno                           CJA  FDS  RET
 U.S. PROBATION OFFICE by: Amos Malone
 INTERPRETER:  None  Sworn


  Defendant advised of rights
  Defendant advised of charges, penalties and fines

  Defendant waives right to an identity hearing
  Defendant to be released on O/R bond to appear in Middle District of Florida - Tampa Division on a date
 and time to be set


GOVERNMENT summarizes charges and penalties.
MAXIMUM PENATLIES:
COUNT 1: SENT: 15 years; FINE: $250,000; SR: 3 years; SA: $100.

BOND

GOVERNMENT does not request detention.
Government outlines the conditions of release requested by the Middle District of Florida.

DEFENSE agrees with Government’s recommendation of release.
Defendant has lived here most of his life but his father lives in Florida.
Defendant has no criminal history.
Defendant may reside with mother and stepfather if released.

PRETRIAL SERVICES reports that Defendant has no prior criminal record.

COURT orders Defendant released on conditions. See order.




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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Eastern District of Wisconsin

                   United States of America                                    )
                              v.                                                       Case No. 24-mj-00882
                                                                               )
                                                                               )
                                                                                                           Middle District of Florida -
              MIGUEL ANGEL FORTIER, JR
                                                                               )       Charging District:
                                                                                                           Tampa Division
                              Defendant
                                                                               )       Charging District’s Case No. 24-CR-276


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place:
                                                                                       Courtroom No.: TO BE SET
United States District Court
Middle District of Florida
801 North Florida Avenue, Tampa, Florida 33602(813)                                    Date and Time: TO BE SET
301-5400

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk
                                                                                                 clleerk
                                                                                                     e of the court where
                                                                                                                    wher the
charges are pending.


Date:     6/27/2024
                                                                                                           Judge’s
                                                                                                           Judge’
                                                                                                               ee’’s signature
                                                                                                                     sign
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                                                                                            Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title




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